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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:08CR328
                              )
          v.                  )
                              )
JESUS SALDANA-GARCIA,         )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter came before the Court on plaintiff’s motion

for dismissal (Filing No. 69).       The Court finds the motion should

be granted.   Accordingly,

          IT IS ORDERED that plaintiff’s request for leave to

dismiss the indictment is granted; the indictment, as it relates

to the defendant Jesus Saldana-Garcia is dismissed without

prejudice.

          DATED this 14th day of April, 2014.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _____________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court
